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4                                           UNITED STATES DISTRICT COURT
5                                        EASTERN DISTRICT OF CALIFORNIA
6
     KORRY TOBIN,                                                                 Case No. 2:23-cv-01044-WBS-DMC
7
                             Plaintiff,                                           District Judge: William B. Shubb
8
                 vs.                                                              ORDER
9
     FORD MOTOR COMPANY; and
10   DOES 1 through 10, inclusive
11                           Defendants.
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      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
15
                 Plaintiff KORRY TOBIN (“Plaintiff”) and Defendant FORD MOTOR
16
      COMPANY have agreed FORD MOTOR COMPANY will pay $16,000.00 to
17
      resolve Plaintiff’s attorneys’ fees, costs, and expenses.
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                 Accordingly, the Court hereby enters an ORDER for Defendant to pay
19
      Plaintiff $16,000.00 to resolve attorneys’ fees, costs, and expenses. Payment is to
20
      be made to counsel for Plaintiff by July 24, 2024. After satisfaction of payment,
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      Plaintiffs will dismiss this case with prejudice within 10 business days against all
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      parties.
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                 IT IS SO ORDERED.
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26    Dated: June 6, 2024
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      ___________________________________________________________________________________________________________________________________________________________
                                                                              1
                                                                            ORDER
